Case:
 Case20-1833    Document: Document
      2:19-cv-00210-GZS   23 Page: 461 Filed
                                          Date Filed: 12/17/2020
                                             12/17/20   Page 1 of 1 Entry ID: #:
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               United States Court of Appeals
                                For the First Circuit
                               ____________________________
 No. 20-1833
                                      SHANA SWENSON

                                      Plaintiff - Appellant

                                               v.

                               FALMOUTH PUBLIC SCHOOLS

                                    Defendant - Appellee
                               ____________________________

                                         JUDGMENT

                                  Entered: December 17, 2020
                                 Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
 dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

        Mandate to issue forthwith.

                                            By the Court:

                                            Maria R. Hamilton, Clerk

 cc:
 Sally A. Morris
 Jeremy M. Cerutti
 Melissa A. Hewey
 Jeana McCormick
